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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY




 PEARSON EDUCATION, INC.,                          Civil Action No.: 21-16866

                          Plaintiff,

                  v.

 CHEGG, INC.,                                                 ORDER OF THE
                                                        SPECIAL DISCOVERY MASTER
                          Defendant.




 LINARES, J.

        WHEREAS, this matter having come before the Special Master by way of a Letter dated

 August 29, 2023 from Chegg, Inc. requesting an order to compel Pearson Education, Inc.

 (“Pearson”) to produce chain-of-title documents for all asserted copyrights;

        WHEREAS, Pearson submitted a response dated September 11, 2023 (“Response”)

 advising that the parties have reached a resolution of this dispute as set forth in its Response,

 which Chegg confirmed by email dated September 19, 2023;

        WHEREAS, the parties jointly requested an extension of the deadline for the

 “substantial completion” of party document production to allow for Pearson’s production as set

 forth in its Response;

        IT IS on this 28th day of September, 2023,

        ORDERED that Pearson shall have until October 20, 2023 to complete its production as

 set forth in its Response.
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       SO ORDERED.

                                    __/s/ Jose L. Linares_______________________

                                    Hon. Jose L. Linares, U.S.D.J. (Ret.)




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